
498 U.S. 335 (1991)
UNITED STATES
v.
FRANCE
No. 89-1363.
Supreme Court of the United States.
Argued October 2, 1990.
Decided January 22, 1991.
CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
Deputy Solicitor General Bryson argued the cause for the United States. With him on the briefs were Solicitor General Starr, Assistant Attorney General Dennis, and Brian J. Martin.
Michael R. Levine, by appointment of the Court, 495 U.S. 945, argued the cause for respondent.
PER CURIAM.
The judgment of the United States Court of Appeals for the Ninth Circuit is affirmed by an equally divided Court.
JUSTICE SOUTER took no part in the consideration or decision of this case.
